Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 1 of 7
Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 2 of 7
Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 3 of 7




May 2, 2017
Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 4 of 7
Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 5 of 7
Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 6 of 7
Case 4:17-cv-00490-DCN Document 7-4 Filed 12/07/17 Page 7 of 7
